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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Amichai Bergman,                                   No. CV-17-04721-PHX-GMS
10                  Plaintiff,                          ORDER
11   v.
12   Cox Communications Incorporated,
13                  Defendant.
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16            Pursuant to the parties’ Stipulation of Dismissal with Prejudice (Doc. 47) and

17   good cause appearing,

18            IT IS HEREBY ORDERED granting the Stipulation and dismissing this action

19   with prejudice, with each party to bear their own fees and costs.

20            IT IS FURTHER ORDERED directing the Clerk of Court to terminate the

21   pending Motion to Change Venue/Transfer Case (Doc. 20).

22            Dated this 20th day of August, 2018.

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25                               Honorable G. Murray Snow
                                 United States District Judge
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